February 19, 2025

The Honorable Judge Theodore D. Chuang
District Judge
U.S. District Court for the District of Maryland
6500 Cherrywood Lane, Suite 245
Greenbelt, MD 20770

Re: J. Does 1-26 v. Musk and DOGE, No. TDC-25-0462

Dear Judge Chuang,

We write to bring important information to Your Honor’s attention. At 12:34 a.m. EST this
morning, hundreds of personal services contractors (PSCs), including some of the plaintiffs in
this lawsuit, were sent a mass termination letter.1 More letters are being sent by the hour.

The mass termination letter was sent without any warning to PSCs or other staff. It was sent to
some PSCs who regained access to USAID systems after the issuance of Temporary Restraining
Orders in American Foreign Service Association v. Trump, No. 25-352 (D.D.C. 2025) and AIDS
Vaccine Advocacy Coalition v. U.S. Department of State, No. 1:25-cv-00400 (D.D.C. 2025) and
Global Health Council v. Trump, No. 1:25-cv-00402 (D.D.C. 2025), and to some PSCs who still
had not obtained access, including J. Does whose situations are highlighted in plaintiffs’ motion
for preliminary injunction.

Moreover, the letter came directly after we shared with the government our draft motion for
temporary restraining order2 and subsequently filed plaintiffs’ motion for preliminary injunction
specifically requesting relief for PSCs.3 We can conclude only that this action is in retaliation for
1
  Attached as Exhibit 1.
2
  See Email from Mimi Marziani, Pls. Counsel, to Christopher Hall, Dep’t of Justice, Re:
TDC-25-0462 Does 1-26 v Musk, et al., (Feb. 18, 2025, 11:48AM EST) on file with the author
(attaching draft memorandum in support of what Plaintiffs originally envisioned to be a
forthcoming temporary restraining order, noting it was not yet filed and asking him not to
distribute the draft).
3
  Indeed, as evidence of the government responding specifically to the draft motion for
temporary restraining order, just four hours after we shared the draft with opposing counsel, the
government sent out an email to some USAID staff providing a short window of time to retrieve
PSCs seeking to vindicate their legal rights. Firing several of the plaintiffs when they have been
without access to USAID systems necessary to protect their safety directly contradicts
government counsel’s repeated representations during yesterday’s case management conference
that the defendants would work in good faith to restore Plaintiffs’ access.

We will update the Court with any additional information as the situation develops, including
possibly moving for emergency relief if necessary to ensure the safety of retaliated-against PSCs,
especially those overseas, and possibly seeking expedited discovery focused on this cynical
action, to the extent the government will not provide such information through voluntary
discovery.


Respectfully submitted,

/s/ Norman L. Eisen
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 **Application for admission pro hac vice pending.



their personal belongings from USAID buildings. The withholding of those personal belongings
is a specific harm highlighted in the motion.
